Case 2:94-cV-02862-BBD-cgc Document 474 Filed 08/24/05 Page 1 of 4 Page|D 308

IN THE UNITED sTATEs DISTRICT coURT FH-ED ay
FoR THE wEsTERN DlsTRlcT oF TENNESSEE "*"' D'C-
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‘° 3
RICHARD A. BOWER, EQUAL ma 1
EMPLoYMENT 0PP0RTUN1TY CLERK, U'ES¢Y",@;;;;GQULD
CoMMIssIoN, AND JOHN W’D C¢f ;`-*7;` 4;
oswALl), y HB
Plaintiffs,

RICHARD A. BOWER,
Plaintiff-Intervenor,

SHARON HERDRICH, LUIS
MORALES, AND TIM WIESE,

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Plaintiff-Intervenors, )
)
v ) CIVIL ACTION NO. 94-2862 D
)
FEDERAL EXPRESS CORPORATION, )
)
Defendant. )
’.` _`_i_.' `3_ J.\ ORDER
Pursuant to Rule 83 of the Federal Rules of Civil Procedure, and for good cause
shown, the Joint Motion to Withdraw Plaintiff’s Motion to Compel Discovery and Vacate
Magistrate’s Order Granting Plaintiff"s Motion to Compel Discovery is granted Plaintiff
EEOC’s Motion to Compel and Supporting memorandum entered on July 7, 2005 are
Withdrawn, and Magistrate Judge Tu M. Pham’s Order Granting PIaintiff's Motion to

Cornpel Discovery entered on August 10, 2005 is vacated and set aside as moot.

.|J`
Emered this 0'?‘/ day ofAugust, 2005.

 

TED sTATEs DIsTRICT JUDGE

V‘-.-_~_

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Case 2:94-cV-02862-BBD-cgc Document 474 Filed 08/24/05 Page 2 of 4 Page|D 309

CERTIFICATE OF SERVICE

I hereby certify that the Proposed Order has been forwarded via U.S. Mail, first
class, postage prepaid this 24th day of August 2005 to the following:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 474 in
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Honorable Bernice Donald
US DISTRICT COURT

